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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  ELIZABETH NELSON
  ALBERT THROWER
                                             Case No. 2:22-cv-10918
              Plaintiffs,                    District Judge Matthew F. Leitman
                                             Magistrate Judge Anthony P. Patti
  v.

  SERVICE TOWING, INC.,

            Defendants.
 _________________________/

    MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION TO
  GRANT DEFENDANTS’ MOTIONS TO DISMISS (ECF No. 66 AND 100),
  DENY AS MOOT THE CITY DEFENDANTS MOTION FOR SUMMARY
   JUDGMENT (ECF NO. 79) AND DENY THE TOWING DEFENDANTS
        MOTION FOR SUMMARY JUDGMENT (ECF NO. 93)
    AND ORDER DENYING PLAINTIFFS’ MOTION FOR LEAVE TO
                     AMEND (ECF NO. 73)

 I.    RECOMMENDATION:

       The Court should GRANT the City Defendants’ motion to dismiss (ECF

 No. 66) and GRANT the Towing Defendants’ oral motion to dismiss (ECF No.

 100), and DISMISS the amended complaint (ECF No. 6) in its entirety for failure

 to state a claim on which relief can be granted. The Court should also DENY AS

 MOOT the City Defendants’ motion for summary judgment (ECF No. 79), and

 DENY the Towing Defendants’ motion for summary judgment (ECF No. 93).
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 II.   REPORT

       A.     Factual and Procedural Background

       Proceeding in pro per, Plaintiffs Elizabeth Nelson and “John Doe” filed this

 lawsuit on April 29, 2022, under 42 U.S.C. § 1983, asserting constitutional and

 state law claims arising from the alleged illegal towing of four vehicles against:

 Service Towing Inc.; Able Towing LLC; Edward D. Hertz; Dennis Hertz; Bruce

 Hertz; Sandra A. Hertz; three John Doe truck drivers; three John Doe City of

 Warren property and maintenance employees; two City of Warren zoning

 department employees; three John Does; four John Doe Warren Police Department

 policemen; the City of Warren; the John Doe Warren Chief of Police; Mayor

 James Fouts; and the Michigan Department of State. (ECF No. 1.) Curiously, the

 complaint stated that the second Plaintiff had yet to be identified (ECF No. 1,

 PageID.3, ¶ 9), but was signed by both Plaintiff Nelson and “John Doe” (ECF No. 1,

 PageID.16).1

       On June 29, 2022, the newly identified John Doe Plaintiff, Albert Thrower,

 and Plaintiff Nelson (collectively “Plaintiffs”) filed a motion for leave to file a first

 amended complaint (ECF No. 5) and proposed amended complaint (ECF No. 6),


 1
   Consistent with other problems in their pleadings, paragraph numbers repeat
 themselves or skip logical sequences from section to section. By way of example,
 paragraph 16 appears three different times on consecutive pages, including one
 spot where it is wedged in between paragraphs 10 and 11. (ECF No. 6, PageID.50-
 52.)
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 which identifies Thrower as the second Plaintiff and Robert Scott as one of the

 John Doe City of Warren property and maintenance employees (ECF No. 5,

 PageID.42; ECF No. 6, PageID.45-46). The Court subsequently granted the

 motion (ECF No. 8), and the first amended complaint (“FAC”) at ECF No. 6

 became and remains the operative pleading in the case. Judge Leitman then

 referred the case to me for all pretrial matters. (ECF No. 9.)

       On July 22, 2022, Plaintiffs filed ̶ and both signed ̶ a motion for leave to

 file a second amended complaint (ECF No. 10) and proposed second amended

 complaint (“SAC”) (ECF No. 11), to “add[] more articulate claims” and to identify

 James Cummins and Gus Ghanam as two of the John Doe Defendants (ECF No.

 10, PageID.75; ECF No. 11, PageID.78-79). Although the Court had not yet ruled

 on the motion, the Clerk’s Office mistakenly issued summonses for service of the

 proposed SAC (ECF No. 12), which was improvidently served upon Defendants,

 including Cummins and Ghanam (ECF No. 13). As a result of the error,

 Defendants the Michigan Department of State and the City of Warren, Fouts,

 Cummins, Ghanam, Scott, and Dwyer filed motions to dismiss the proposed SAC

 at ECF No. 11 (ECF Nos. 21, 23), which was not the operative pleading. Further,

 Plaintiffs filed a motion for default judgment against certain Defendants asserting

 failure to answer that proposed SAC, though leave had not been granted to file it.

 (ECF No. 25.)


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       The same Clerk’s Office mistake was again made when Plaintiff Nelson

 alone filed a motion for leave to file a third amended complaint (ECF No. 27) and

 proposed third amended complaint (“TAC”) (ECF No. 28) on August 23, 2022,

 which sought to allow her to identify Curtis Gauss, William Reichling, William

 Dwyer, and Mary Michaels as John Doe Defendants and to add allegations

 regarding an additional incident of towing, and which states: “One of the

 plaintiff[s] ALBERT THROWER has exited the action. There is just one plaintiff

 ELIZABETH NELSON now.” (ECF No. 27, PageID.324; ECF No. 28,

 PageID.327-329.) The motion was not signed by Plaintiff Thrower, although it

 purports to withdraw him as a party. Again, although the Court had not yet ruled

 on the motion, the Clerk’s Office mistakenly issued summonses for service of the

 proposed third amended complaint upon Gauss, Reichling, Dwyer, and Michaels.

 (ECF Nos. 29-32.) As a result of the error, these four Defendants filed a motion to

 dismiss the proposed third amended complaint (ECF No. 38), which is not the

 operative pleading.

       On January 25, 2023, I issued an order denying as moot Plaintiffs’ motions

 to file a second and third amended complaint (ECF No. 53), and I issued a report

 and recommendation to deny without prejudice the three then-pending motions to

 dismiss (ECF No. 54). Judge Leitman adopted my recommendation in an order

 dated February 13, 2023. (ECF No. 58.) In overruling Plaintiffs’ objections, he


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 stated, “The Court has carefully reviewed the Objections but cannot understand

 any points/arguments that Plaintiffs may be making. Accordingly, Plaintiffs have

 failed to persuade the Court that Magistrate Judge Patti erred in any way.” (ECF

 No. 58, PageID.844.)

       Plaintiffs then filed a motion for leave to file a summary judgment motion,

 which I denied as unnecessary, and orally moved to dismiss the Michigan

 Department of State, which I granted in a combined order. (ECF 62.)

       On May 3, 2023, Defendants City of Warren, William Dwyer, 2 James Fouts,

 and Robert Scott (the “City Defendants”) filed a motion to dismiss the amended

 complaint, which has now been fully briefed. (ECF Nos. 66, 71, 76.) Plaintiffs

 filed a motion to compel and another motion to amend the complaint. (ECF Nos.

 69, 73.) While their motion to dismiss was still pending, the City Defendants filed

 a motion for summary judgment (ECF No. 79) and a motion for sanctions (ECF

 No. 81). Finally, on November 17, 2023, Defendants Able Towing LLC, Bruce

 (John Doe), Dennis (John Doe), Bruce Hertz, Dennis Hertz, Edward D. Hertz,



 2
  William Dwyer was terminated as a defendant on February 13, 2023. (ECF 58.)
 However, in their operative pleading (ECF 6), Plaintiffs named “John Doe Warren
 Police Chief,” who is still listed as a defendant. Defendants explain that “the City
 of Warren Police Department’s equivalent to a police chief is the Police
 Commissioner. The City of Warren’s Police Commissioner is William Dwyer.”
 (ECF No. 66, PageID.871.) As such, counsel for Defendants included William
 Dwyer in their motion to dismiss. I will adopt the language and usage of
 Defendants and refer to “John Doe Warren Police Chief” as William Dwyer.
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 Sandra A. Hertz, Randy (John Doe), Service Towing Inc. (the “Towing

 Defendants”), filed their own motion for summary judgment. (ECF No. 93.)

       I held a hearing on all pending motions on January 30, 2024, at which time

 the Towing Defendants orally moved to dismiss the case, for the reasons stated in

 the City Defendants’ May 3, 2023 motion. During the hearing, I denied the motion

 to compel, denied the motion for sanctions, and took all other motions under

 advisement.

       B.      Standard

               1. Fed. R. Civ. P. 12(b)(6)

       When deciding a motion to dismiss under Fed. R. Civ. P. 12(b)(6), courts

 must “construe the complaint in the light most favorable to the plaintiff and accept

 all allegations as true.” Keys v. Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012).

 “To survive a motion to dismiss, a complaint must contain sufficient factual

 matter, accepted as true, to state a claim to relief that is plausible on its face.”

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotations omitted); see also

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (concluding that a plausible

 claim need not contain “detailed factual allegations” but must contain more than

 “labels and conclusions” or a “formulaic recitation of the elements of a cause of

 action”). Facial plausibility is established “when the plaintiff pleads factual

 content that allows the court to draw the reasonable inference that the defendant is


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 liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. “The plausibility of an

 inference depends on a host of considerations, including common sense and the

 strength of competing explanations for the defendant’s conduct.” 16630 Southfield

 Ltd. P’Ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 504 (6th Cir. 2013). To make

 this determination, a court “may consider the Complaint and any exhibits attached

 thereto, public records, items appearing in the record of the case and exhibits

 attached to defendant’s motion to dismiss so long as they are referred to in the

 Complaint and are central to the claims contained therein.” Bassett v. Nat’l

 Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008). Furthermore, the

 Court holds pro se complaints to “less stringent standards than formal pleadings

 drafted by lawyers.” Haines v. Kerner, 404 U.S. 519, 520 (1972).

              2. Fed. R. Civ. P. 56

       Under Federal Rule of Civil Procedure 56, “[t]he court shall grant summary

 judgment if the movant shows that there is no genuine dispute as to any material

 fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P.

 56(a). A fact is material if it might affect the outcome of the case under governing

 law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). The Court

 “views the evidence, all facts, and any inferences that may be drawn from the facts

 in the light most favorable to the nonmoving party.” Pure Tech Sys., Inc. v. Mt.

 Hawley Ins. Co., 95 F. App’x 132, 135 (6th Cir. 2004) (internal citations omitted).


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 To survive summary judgment, one “must do more than simply show that there is

 some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v.

 Zenith Radio Corp., 475 U.S. 574, 586 (1986).

              C.    Discussion

              1. May 3, 2023 Motion to Dismiss (ECF No. 66) Filed by
              Defendants the City of Warren, James Fouts, Robert Scott, and
              William Dwyer.

       Defendants make various arguments why Plaintiffs’ complaint is subject to

 dismissal. But to start, Defendants assert that Plaintiff Albert Thrower’s

 “extensive experience with the legal system, his experience representing himself in

 litigation, and his apparent legal studies should also be considered.” (ECF No. 66,

 PageID.883.) Defendants argue that “Plaintiff Thrower’s familiarity with filing

 pleadings tempers his status as a pro se litigant and should heighten this Court’s

 review of the sufficiency of the Complaint beyond what it would normally be for a

 pro se litigant.” (ECF No. 66, PageID.884.) This is a nonissue. The Court should

 review the amended complaint under the standard set forth under Fed. R. Civ. P.

 12(b)(6). To that end, “[a]lthough a pro se complaint must be held to a less

 stringent standard than that prepared by an attorney, the courts have not been

 willing to abrogate basic pleading essentials in pro se suits.” Leisure v. Hogan, 21

 F. App’x 277, 278 (6th Cir. 2001) (citing Haines v. Kerner, 404 U.S. 519, 520,

 (1972), Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989)). The Court should give

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 Plaintiffs the deference due to pro se litigants, but “the less stringent standard for

 pro se plaintiffs does not compel the courts to conjure up unpleaded facts to

 support conclusory allegations.” Id. (citing Scheid v. Fanny Farmer Candy Shops,

 Inc., 859 F.2d 434, 437 (6th Cir. 1988)). In the end, Plaintiffs are the “master[s] of

 [their] complaint.” Roddy v. Grand Trunk W. R.R., Inc., 395 F.3d 318, 322 (6th

 Cir. 2005).3

       As will be discussed more specifically below, Plaintiffs’ amended complaint

 amounts to twenty-six pages of rambling and confusing allegations and legal

 conclusions that are often not connected to one another, and only sometimes even

 grammatically understandable. While the Court should recognize their pro se

 status, their complaint nonetheless fails to satisfy basic pleading requirements.

 Choosing at random, the complaint contains such nonsensical allegations as “Per

 FACTS supra and infra set out a claim of extortion under MICHIGAN law &/or

 Federal law,” followed by random purported quotations to uncited sources

 prohibiting persons from subjecting another person to forced labor due to


 3
   Notwithstanding the Undersigned’s unwillingness to place Plaintiffs in some sort
 of “enhanced pro se” category of litigants, it is worth making passing note of the
 fact that the Court of Appeals has upheld a prohibited filer status imposition
 against Plaintiff Thrower by the Northern District of Ohio. Thrower v. Beacon
 Journal Pub. Co., 1993 U.S. App. LEXIS 1747, *4 (6th Cir. 1993) (“We also
 affirm the district court’s order requiring Thrower to obtain prior leave of the court
 for future filings and also requiring him to certify that the claims raised in his new
 filings have never been raised before.”)
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 blackmail. (ECF No. 6, PageID.53, ¶ 17). Another allegation, taken at random,

 states “5/1/20 under the allegation of ‘cleaning up the property @ 7568 Hudson

 Ave Warren (P) THROWER bumper wrap 200 DODGE Intrepid SELLING ON

 EBAY, Drainage System Attached to house, cans to be recycled since recycle

 centers closed due to Covid 19, four 4 x 4 x 8 LUMER, grill.” (ECF No. 6,

 PageID.59, ¶ 42).

       It appears that Plaintiffs are alleging that someone towed their four cars from

 private property, and then someone falsified paperwork regarding the towing, and

 this may have been due to a conspiracy, a custom of Defendant City of Warren, a

 lack of a policy or perhaps a specific policy. Woven into the maundering tale are

 allegations about courts being closed due to COVID, and Defendants who “did not

 wear gloves or mask[s] when entering vehicles AND/OR towing CARS and

 forcing [Plaintiffs] to sanitize same exposing [Plaintiffs] to POSSIBLE COVID 19

 viruses.” (ECF No. 6, PageID.57, ¶ 32). Plaintiffs also include allegations about

 one of them (Plaintiff Nelson) being told by her doctor to not come to Michigan

 because it was a high risk state for COVID and she was “PLACED IN A HIGHER

 RISK SITUATION per the facts-being forced to travel to WARREN MICHIGAN,

 coming out of self-isolation in OHIO per her Doctor’s orders AND HER LIFE

 WAS PLACED IN JEOPARDY HAVING TO TRAVEL FROM OHIO . . . TO

 RETRIEVE HER WRONGFULLY TOWED VEHICLES ENDANGERING HER

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 LIFE.” (ECF No. 6, PageID.57, ¶ 34) (all caps in original). Although it is not

 entirely clear, the amended complaint appears to assert three claims. Claim One is

 brought under 42 U.S.C. § 1983 “Against All Defendants 4, 5, 14 AMENDMENT

 VIOLATION UNITED STATES [CONSTITUTION] AND MICHIGAN

 CONSTITUTION, Due Process Cl Art 17, Sec 11.” (ECF No. 6, PageID.59, ¶ 43).

 Claim Two is a claim for conversion for “intentionally depriv[ing] Plaintiff of his

 rightful possession of the 4 vehicles. AND PERSONAL PROPERTY.” (ECF No.

 6, PageID.61, ¶ 52). The third claim asserts that Plaintiff Nelson was forced to

 come into Michigan to retrieve the vehicles, which Plaintiffs allege violated 42

 U.S.C. § 1983. (ECF No. 6, PageID.61, ¶ 56).

       Also included in the amended complaint is an allegation that:
       Per facts supra same as if rewritten herein the (D)’s violated the (P)
       ELIZABETH NELSON, (P) ALBERT THROWER Michigan state law
       including not limited to:
       With regard to the government/private defendants, the plaintiff asserts a
       conversion, extortion, theft of vehicle, misprison of felony, failure to report a
       crime, trespassing, breach of the peace claim pursuant to the state’s tort
       claims act. However, joining too many state claims can detract from the
       civil rights violations, so the (P)’s will have to exercise judgment about how
       many state claims to include.
 (ECF No. 6, PageID.66) It is not clear from this statement whether these “claims”

 are being asserted, mentioned, or abandoned.




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       Plaintiffs ask for punitive and compensatory damages, including a refund of

 all towing fees, expenses from traveling from Ohio to Michigan to retrieve the

 vehicles, a COVID 19 cleaning fee to sanitize the vehicles, and costs and attorney

 fees. (ECF No. 6, PageID. 67.) Plaintiffs may or may not also ask for declaratory

 relief—Plaintiffs often make broad statements about Defendants’ conduct and it is

 unclear whether this forms the basis of a request for declaratory relief. Plaintiffs

 seek a total award of $50,000,000, and also seek to “CERTIFY SAME AS A

 CLASS ACTION and examine all vehicles towed during the WARREN COURT

 COVID 19 SHUT DOWN . . .” (ECF No. 6, PageID.67.)

                     a. City of Warren

       Defendants argue that the City of Warren must be dismissed from the case

 because Plaintiffs do not adequately assert a claim against it. To prevail in a claim

 under 42 U.S.C. § 1983 claim against a municipality, a plaintiff must show that the

 corporation had a “policy” or “custom” that caused the plaintiff’s injury. Monell v.

 Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 694 (1978). Specifically, a

 plaintiff must “identify the policy, connect the policy to the city itself[,] and show

 that the particular injury was incurred because of the execution of that policy.”

 Garner v. Memphis Police Dep’t, 8 F.3d 358, 364 (6th Cir. 1994) (internal

 quotation marks and citations omitted). “A plaintiff can make a showing of an

 illegal policy or custom by demonstrating one of the following: (1) the existence of
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 an illegal official policy or legislative enactment; (2) that an official with final

 decision making authority ratified the illegal actions; (3) the existence of a policy

 of inadequate training or supervision; or (4) the existence of a custom of tolerance

 or acquiescence of federal rights violations.” Burgess v. Fischer, 735 F.3d 462,

 478 (6th Cir. 2013).

        Defendants assert, and the Court should agree, that Plaintiffs fail to

 adequately plead a Monell claim against the City of Warren. The lengthy and often

 incoherent complaint makes vague and conclusory references to the City of

 Warrant’s failure “to adopt clear policies and fail[ure] to properly train” (see, e.g.,

 ECF No. 6, PageID.60, ¶ 49), and that Defendants acted “pursuant to a policy or

 custom” of City of Warren ” (see, e.g., ECF No. 6, PageID.60, ¶ 48), but there are

 no details provided as to the specifics of any policy or custom that was in place or

 lacking. Indeed, it is unclear from the amended complaint whether Plaintiffs’

 allegation is that Defendants were acting in violation of a policy, or were acting in

 the absence of training. Plaintiffs state both that the City of Warren’s “policy or

 custom, and its failure to adopt clear policies and failure to train its” employees

 were the cause of Plaintiffs’ constitutional injuries. Plaintiffs do not bolster these

 conclusory allegations with specific details and instead assert that “[i]t can be

 assumed . . . that the police did this . . . either by ‘failure to train’ or entering the

 conspiracy . . .” (ECF No. 6, PageID.53, ¶ 17.) Pleadings do not tolerate mere


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 speculative assumptions; they require good faith factual contentions that either

 have or likely will have evidentiary support under Fed. R. Civ. P. 11(b)(3).

 Furthermore, “Lawsuits are not fishing expeditions.” Holmes v. City of New York,

 19 Civ. 1628 (ER), 2020 WL 918611, *20 (S.D. N.Y. Feb. 26, 2020). The Court

 does not exist for Plaintiffs to test their theories.

        “Plaintiff[s] may not simply include a Monell claim in [their] Complaint as a

 matter of course by making the conclusory allegation that the alleged constitutional

 deprivations were due to a policy or custom of the [municipality]. Rather,

 Plaintiff[s] must allege some actual facts suggesting as much.” Sistrunk v. City of

 Hillview, 545 F. Supp. 3d 493, 501 (W.D. Ky. 2021) (quoting Grandizio v. Smith,

 No. 14-3868, 2015 WL 58403, at *6 (D.N.J. Jan. 5, 2015) (alterations in original)

 (also citing Anthony v. Roberson, 26 F. App’x 419, 422 (6th Cir. 2001)

 (“conclusory allegations are insufficient to state an arguable claim that an

 unconstitutional governmental policy caused Anthony’s illegal arrest”); Brown v.

 Cuyahoga County, 517 F. App’x 431, 436 (6th Cir. 2013) (affirming dismissal of

 Monell claim based on “nothing more than a bare recitation of legal standards”)).

        Here, Plaintiffs’ complaint is devoid of any allegations sufficient to bolster a

 Monell claim and, as such, the Court should dismiss the City of Warren, and any

 Monell claim, from the amended complaint.




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                     b. 42 U.S.C. § 1983

                        i. Inadequate pleading

       Defendants next argue that the § 1983 claims are not supported by sufficient

 factual allegations. The Court should agree. “[M]ore than bare assertions of legal

 conclusions is ordinarily required to satisfy federal notice pleading requirements.”

 Leisure, 21 F. App’x at 278 (quoting Wells, 891 F.2d at 594). “A complaint must

 contain either direct or inferential allegations respecting all the material elements

 to sustain a recovery under some viable legal theory.” Id. (citing Scheid, 859 F.2d

 at 437).

       “Under § 1983, there is no respondeat superior or vicarious liability.”

 Flagg v. City of Detroit, 715 F.3d 165, 174 (6th Cir.2013). “When suing an

 individual actor . . . for constitutional violations under § 1983, a plaintiff must

 demonstrate that the actor ‘directly participated’ in the alleged misconduct, at least

 by encouraging, implicitly authorizing, approving or knowingly acquiescing in the

 misconduct, if not carrying it out himself.” Id. Indeed, “it is particularly important

 in such circumstances that the complaint make clear exactly who is alleged to have

 done what to whom, to provide each individual with fair notice as to the basis of

 the claims against him or her, as distinguished from collective allegations against

 the state.” Jack-Bey v. Michigan Dep't of Corr., No. 1:13CV131, 2014 WL



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 1255910, at *5 (W.D. Mich. Mar. 26, 2014) (quoting Robbins v. Oklahoma, 519

 F.3d 1242, 1250 (10th Cir. 2008) (emphasis omitted)).

       Here, the amended complaint fails to specify who did what and how and to

 whom. The allegations under Plaintiffs’ “First Claim” paint a broad picture that

 Defendants “unlawfully deprived Plaintiff [Nelson] of her 4 VEHICLES” and

 Plaintiff Thrower of personal property without due process of law in violation of

 the Fourth, Fifth, and Fourteenth Amendments of the Constitution. (ECF No. 6,

 PageID.59, ¶46.) Defendants are specified as “Service Towing, Inc., Hertz Bros,

 4 John Doe Service Towing employees, DOE Building and Maintenance

 DIVISION employees, Warren POLICE DEPARTMENT OFFICER DOES,

 WARREN ZONING DIVISION EMPLOYEES DOES, ROBERT SCOTT,

 SUPERVISOR PROPERTY AND MAINTENANCE DIVISION, CITY OF

 WARREN DOE POLICE OFFICERS, [and] CITY OF WARREN DOE LEGAL

 DIVISION.” (Id.) Other than listing these individual defendants, there is no real

 effort to specify their exact role in the alleged deprivation. Indeed, it is generally

 alleged that these Defendants, in various combinations, made an unreasonable

 search and seizure (ECF No. 6, PageID.60, ¶47), acted pursuant to a policy or

 custom to deprive Plaintiffs of their property rights without due process of law

 (ECF No. 6, PageID.60, ¶48), and failed to adopt policies or train City employees

 as to “proper role of officers in private disputes such as removing vehicles” (ECF


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 No. 6, PageID.60, ¶49). Although the Defendants are purportedly listed

 individually, their actions are largely grouped together with no specificity

 provided, dragnet style.

       Further, Plaintiffs’ “Third Claim” also alleges some kind of action under §

 1983, related to Defendants alleged “putatively illegal action” in towing cars

 during COVID 19 and thereby causing Plaintiff Nelson to drive to Michigan a

 “high COVID 19 state” to retrieve the cars. (ECF No. 6, PageID.61-62.) To the

 extent any specificity is alleged, a cause of action is not discernable. And lumping

 the Defendants together in various groups to then make conclusory allegations

 amounts to generic, or generalized allegations which are insufficient to allege

 liability under § 1983. A shotgun approach, leading to a mishmash of

 disconnected allegations, will not suffice.

       Although “using collective references is not an impermissible pleading

 form per se[,]” In re Takata Airbag Prod. Liab. Litig., 396 F. Supp. 3d 1101, 1162

 (S.D. Fla. 2019), on the issue of individual involvement, “it is insufficient to make

 generic or blanket allegations pertaining to ‘defendants’ or allegations lumping

 together individual defendants[,]” and “mere citation to each individual

 defendant’s job description—without an accompanying allegation showing how

 each defendant failed to comply with his or her job description—is insufficient.”




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 Rouse v. Washington, No. 20-CV-11409, 2021 WL 2434196, at *8 (E.D. Mich.

 June 15, 2021) (Goldsmith, J.).

       The amended complaint as drafted does not give the Defendants notice as to

 precisely what they each are alleged to have done. This is the very purpose of a

 complaint, to “give the defendant fair notice of what the … claim is and the

 grounds upon which it rests.” Twombley, 550 U.S. 555. Indeed, the Court itself is

 also entitled to know exactly who is being accused of exactly what, as is the public

 viewing the pleadings. No one should have to guess. The Court should grant

 Defendants’ motion and dismiss this claim, as it makes only conclusory and vague

 allegations as to how these (or any defendants) specifically are alleged to have

 violated § 1983. See Frazier v. Michigan, 41 F. App’x 762, 764 (6th Cir. 2002)

 (“Frazier’s complaint contained no specific facts in support of his conclusory

 allegations that the defendants violated his constitutional and statutory rights.

 Moreover, Frazier failed to allege with any degree of specificity which of the

 named defendants were personally involved in or responsible for each of the

 alleged violations of his federal rights.”); see also Vartinelli v. Aramark Corr.

 Servs., LLC, No. 18-CV-10964, 2019 WL 1402653, at *8 (E.D. Mich. Mar. 28,

 2019), aff’d, 796 F. App'x 867 (6th Cir. 2019) (“Plaintiffs' Complaint throughout

 speaks collectively of the conduct of the “Defendants” and there are no allegations

 specifically related to any personal involvement of any of the individual


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 Defendants” . . . [but,] ‘[i]In order for liability to attach to any of these supervisors,

 Plaintiff must prove that they did more than play a passive role in the alleged

 violations or show mere tacit approval of the goings on. Plaintiff must show that

 the supervisors somehow encouraged or condoned the actions of their inferiors.’”)

 (quoting Gregory v. City of Louisville, 444 F.3d 725, 751 (6th Cir. 2006)).

                            ii. No substantive rights under § 1983

       Moreover, even if one could tell what has been pleaded against whom in

 connection with the “Third Claim’s” alleged “violation” of § 1983 (ECF No. 6,

 PageID.61, ¶ 56), the statute does not lend itself to an independent cause of action.

 One cannot pursue a remedy for a “violation” of § 1983, because it “is an

 exclusively remedial statute and does not itself give rise to any substantive rights.”

 New York Airlines v. Dukes County, 623 F. Supp. 1435, 1445 (D. Mass. 1985).

 Thus, § 1983 only affords a mechanism or procedure for the violation of federal

 rights found elsewhere, and “a party must establish the violation of a federal right

 independent of § 1983. The violation of a federal statute, by itself, is insufficient to

 give rise to a cause of action under § 1983. Rather, ‘the statute violated must be

 one that confers a federal right.’” Id. (quoting Balf Co., Inc. v. Gaitor, 534 F. Supp.

 600, 604 (D. Conn. 1982)). Accordingly, “The first inquiry in any § 1983 suit […]

 is whether the plaintiff has been deprived of a right “secured by the Constitution

 and laws.” Baker v. McCollan, 443 U.S. 137, 140 (1979). See also Macko v.
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 Byron, 576 F. Supp. 875, 880 (N.D. Ohio 1983) (“However, the Court notes that §

 1983 provides redress only in the case of a deprivation of a constitutional right.”)

 Plaintiffs do not answer this threshold question.

                           iii. COVID-19 claim too tenuous

       Additionally, even if all of these deficiencies could be ignored, the “risk” of

 coming into a “HIGH COVID 19 STATE AND EXIT[ING] ‘SELF ISOLATION’”

 (ECF No. 6, PageID.61, ¶ 56 (all caps in original), and Ibid.) do “not satisfy the

 requirement that threatened injury must be certainly impending” because the

 allegations rely “on a highly attenuated chain of possibilities[.]” Clapper v.

 Amnesty Int’l USA, 568 U.S. 398, 410 (2023). It does not appear that Plaintiffs

 have standing to pursue a claim based on COVID-19, for “[t]o have Article III

 standing to sue in federal court, plaintiffs must demonstrate, among other things,

 that they suffered a concrete harm. No concrete harm, no standing.’’ Transunion

 LLC v. Ramirez, 594 U.S. 413, 417 (2021). As this Court has previously found,

 “allegations that [a plaintiff] may be ‘exposed to COVID-19’ or ‘exposed to

 infection’ by […] going ‘out in public to perform essential activities’ […] are

 conjectural and hypothetical, as opposed to actual or imminent.” Bormuth v.

 Whitmer, 2:20-cv-11399, 2020 WL 9258734, *7 (E.D. Mich. Nov. 23, 2020) (Patti,

 MJ) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-561 (1992)), report and

 recommendation adopted 2021 WL 912395 (E.D. Mich. Mar. 10, 2021)
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 (Goldsmith, J.). Despite much talk and allegations about the risk to Plaintiffs as

 cancer survivors, Nelson “never contracted COVID, period” and the record lacks

 reference to Thrower contracting it. (ECF No. 81-2, PageID.1450.) Even if they

 had, laying the cause of exposure to and development of a Corona virus infection

 at the Defendants’ feet, in the midst of a global pandemic, is beyond tenuous.

                    c. Conversion Claim

       Under Plaintiffs’ “Second Claim,” they bring a claim for conversion against

 a variety of Defendants, including Robert Scott. (ECF No. 6, PageID.61.) In this

 motion, Defendant Scott asserts that the conversion claim against him, as with the

 rest of the amended complaint, is insufficiently pleaded. As Defendants articulate:

       Plaintiffs allege common law conversion against Defendant Scott and
       several others including unnamed City employees and police officers and
       towing company employees. These common factual allegations make no
       claims that Defendant Scott engaged in any actions which may constitute
       conversion. Plaintiffs do not connect Defendant Scott, or any actions done
       by him, to the elements of common law conversion.

 (ECF No. 66, PageID.889-90.) As an example, Defendants cite to paragraphs 52

 and 53, which make up the bulk of the alleged conversion claim, and which state,

 “Defendants intentionally deprived Plaintiff of his rightful possession of the 4

 vehicles and personal property” and “acted with malice, recklessness and total and

 deliberate disregard for the personal rights of Plaintiff.” (ECF 66, PageID.890,

 citing ECF No. 6, Page ID 61, ¶¶52-53). The Court should agree that Plaintiffs


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 have failed to allege facts to meet the basic pleading requirements of the Federal

 Rules of Civil Procedure. The complaint’s above-stated goal of giving “‘the

 defendant fair notice of what the … claim is and the grounds upon which it rests’”

 is not met. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting

 Conley v. Gibson, 355 U.S. 41, 47 (1957)). Reading through the amended

 complaint, all Defendants would be hard pressed to know precisely what it is they

 are being accused of and, on this claim, Defendant Scott would be at a loss to

 know how he ties in.

       Moreover, as Defendants point out, when additional facts are provided, they

 are often internally inconsistent and confusing:

       Plaintiffs’ allegations are also inconsistent with incorporated factual
       allegations. For example, the conversion claim refers to the towed vehicles
       as “his” (ECF 6, Page ID: 61, ¶ 52) presumably referring to Defendant
       Thrower, when the incorporated paragraphs state the vehicles belong to
       Defendant Nelson. (ECF 6, Page ID: 52-53, ¶18). Plaintiffs also inexplicably
       cite Article 9 of the Uniform Commercial Code, dealing with secured
       transactions, to allege “Defendant” (unspecified) committed a “breach of the
       peace”. (ECF 6, Page ID 61, ¶¶54).

 (ECF No. 66, PageID.889.) At oral argument, Plaintiffs claimed that Nelson held

 title to the vehicles; Thrower only gave her the money to buy them.

       The Court should agree with Defendants that Plaintiff’s conversion claim is

 “wholly conclusory, partly contradictory, and devoid of any specific factual

 allegations that would ‘raise a right to relief above the speculative level.’” (ECF

 No. 66, PageID.889 (citing Twombly, 550 U.S. at 555).) As Defendants’ motion
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 aptly asserts, “Plaintiffs’ ‘naked assertions’ do not create ‘more than a sheer

 possibility that [Defendants] ha[ve] acted unlawfully.’” (Id., quoting Iqbal, 556

 U.S. at 678 (internal citations omitted).)

                     d. Declaratory Relief

       As noted earlier, it is not clear whether Plaintiffs seek some sort of

 declaratory relief. The tortuous way in which the amended complaint is drafted—

 twisting and turning through disordered facts and random legal citations—makes it

 difficult to discern what precise relief Plaintiffs seek. On the last page of the

 amended complaint, Plaintiffs detail what relief they seek for each claim, and

 declaratory relief is not found on that list. (See ECF No. 6, PageID.67.) However,

 a few pages back, on page 18 of their complaint, Plaintiffs state, “ISSUE AN

 ORDER DEFENDANTS PER FACTS VIOLATED 750.413 Motor vehicle; taking

 possession and driving away. Per the facts the (D)’s violated Michigan state laws

 of trespass, conversion, extortion as defined in 750.213 Malicious threats to exhort

 money . . .” (ECF No. 6, PageID.62.) Thereafter, Plaintiffs include citations to

 various provisions of state criminal law. None of these alleged violations are

 developed with any allegations of fact or any link to specific Defendants or their

 actions. Given the lack of specificity, and the failure to include any request for

 declaratory relief in the relief portion of their complaint, the Court should not read

 the amended complaint as containing a claim for declaratory relief. To the extent


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 that it does assert such a claim, the Court should dismiss it for failure to state a

 claim on which relief can be granted.

       For the reasons discussed above, the Court should GRANT Defendants’

 motion to dismiss (ECF No. 66) and DISMISS all claims against the City of

 Warren, James Fouts, Robert Scott, and William Dwyer. 4

       2. August 18, 2023 Motion for Summary Judgment (ECF No. 79) Filed
       by Defendants the City of Warren, James Fouts, Robert Scott, and
       William Dwyer

       After the City Defendants filed their motion to dismiss, the case proceeded

 through discovery and, on August 18, 2023, while the motion to dismiss was still

 pending, they filed a motion for summary judgment. In their introduction,

 Defendants state:

       Plaintiffs, Albert Thrower (“Thrower”) and Elizabeth Nelson (“Nelson”),
       bring this action based on the towing of various vehicles (the “Vehicles”)
       and removal of personal property from a blighted property in the City of
       Warren. Plaintiff Thrower has a long history of frivolous and abusive pro se
       litigation of which this case is no exception. Currently pending is
       Defendants’ Motion to Dismiss Plaintiffs’ First Amended Complaint (ECF
       66). Defendants’ Motion to Dismiss is still relevant because Plaintiffs’ lack
       of properly plead [sic] allegations makes requesting dismissal based on the
       facts of this case difficult. Nevertheless, discovery has occurred while
       Defendants’ Motion to Dismiss is pending. Discovery has further revealed
       Defendants are entitled to judgment as a matter of law because there is no
       genuine dispute of material facts in this case.


 4
  Notably, at oral argument, Plaintiffs could or would not explain former Mayor
 Fouts’s or Police Commissioner Dwyer’s involvement, in response to repeated,
 direct questions from the Court, except for admitting that they had “actually no”
 evidence as to Fouts.
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 (ECF No. 79, PageID.1256, emphasis added.) In other words, at the time

 Defendants filed their summary judgment motion, they were not abandoning their

 motion to dismiss argument. Instead, it appears that, after discovery, Defendants

 also argue that there is no admissible evidence that they violated Plaintiffs’

 constitutional rights—even if they could not discern precisely what those alleged

 violations were, based on the deficient amended complaint.

         Because I recommend granting the motion to dismiss, I also recommend

 terminating the motion for summary judgment as moot.5 If there are no claims

 pending against these defendants, there is nothing on which the Court can grant

 judgment. Moreover, the proper procedural remedy for a deficient complaint is

 dismissal. Defendants should not be required to bring a motion for summary

 judgment to attempt to disprove every possible constitutional claim an

 unintelligible pleading could conceivably be asserting. Accordingly, the Court

 should DENY AS MOOT Defendants motion for summary judgment (ECF No.

 86.)6


 5
  During the January 30, 2024 hearing, defense counsel also agreed that if the
 motion to dismiss were granted, the motion for summary judgment would be moot.
 6
   The motion for summary judgment and the recently decided motion for Rule 11
 sanctions (ECF No. 81) were nonetheless enlightening, especially when coupled
 with Nelson’s deposition transcript. They collectively demonstrate, inter alia, that
 Thrower is coming dangerously close to the unauthorized practice of law and/or
 coaching his co-Plaintiff while testifying, Nelson knows remarkably little about
 this case, now thinks it “obviously … was not” a “good idea” and “never had
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       3. June 6, 2023 Motion for Leave to Amend (ECF No. 73) Filed by
       Plaintiffs

       On June 6, 2023, the precise deadline established by the Court for doing so

 (ECF No. 63, PageID.857), Plaintiffs moved, yet again, to amend their complaint.

 They purportedly seek to add even more Defendants, who they have identified

 during discovery, and, in a one page brief, argue that Fed. R. Civ. P. 15 mandates

 that the Court allow the amendment absent bad faith or prejudice to the opposing

 party. (ECF No. 73, PageID.1157.) They neglect to mention futility.

       Under Federal Rule of Civil Procedure 15(a), a party may amend its

 pleadings at this stage of the proceedings only after obtaining leave of court. The

 Rule provides that the Court should freely give leave for a party to amend its

 pleading “when justice so requires.” Fed. R. Civ. P. 15(a)(2). “Nevertheless, leave

 to amend ‘should be denied if the amendment is brought in bad faith, for dilatory

 purposes, results in undue delay or prejudice to the opposing party, or would be



 interest in this [lawsuit] in the first place except, you know, it sounded like a good
 idea at the time.” (ECF No. 81, PageID.1419; ECF No. 81-2, PageID.1444, 1459-
 1460, 1466-1468, 1472-1473.) She explained meeting Thrower as “he appeared
 one day … this weird guy appeared and started running around acting real weird.”
 (ECF No. 81-2, PageID.1440.) When asked to describe her relationship with
 Thrower, she responded, “I mean, does sugar daddy count? Do Birmingham people
 use that?” (Id., PageID.1443.) She characterizes him as “the hated one. *** I’ve
 never, you know, had a friend like this. I hope never to again.” (Id., PageID.1468.)
 The Towing Defendants also show that judicial process was still in play in the City
 of Warren during the pandemic, notwithstanding Plaintiffs’ contrary depiction.
 (ECF No. 93-4.)
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 futile.”’ Carson v. U.S. Office of Special Counsel, 663 F.3d 487, 495 (6th Cir.

 2011) (quoting Crawford v. Roane, 53 F.3d 750, 753 (6th Cir. 1995)) (emphasis

 added). “A proposed amendment is futile if the amendment could not withstand a

 Rule 12(b)(6) motion to dismiss.” Rose v. Hartford Underwriters Ins. Co., 203

 F.3d 417, 420 (6th Cir. 2000) (citation omitted). As discussed above, “[t]o survive

 a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

 true, to state a claim to relief that is plausible on its face.” Ashcroft, 556 U.S. at

 678 (internal quotations omitted). A plausible claim need not contain “detailed

 factual allegations” but must contain more than “labels and conclusions” or a

 “formulaic recitation of the elements of a cause of action.” Twombly, 550 U.S. at

 555.

        A review of the proposed second amended complaint reveals that it suffers

 from the same deficiencies as, and arguably is even more indecipherable than, the

 current operative pleading. The extensive pleading swoops and swerves through

 confusing factual averments and random legal citations with yet another shotgun

 approach that can only be described as expansive. For example, in the 10th cause

 of action, Plaintiffs assert, in its entirety, “Per facts supra same as if rewritten

 herein Ds’ violated Michigan state law including but not limited to conversion,

 misprison of felony, failure to report a crime, trespassing, breach of peace claim

 pursuant to state’s tort claims act.” (ECF No.74, PageID.1191.) Not only is it


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 unclear exactly what this cause of action is, it is also unclear which Defendants are

 implicated, and how. Like the operative pleading, the proposed amendment is

 replete with irrelevant factual assertions about COVID, random citations to state

 and federal law, and disconnected factual allegations, often based on assumptions.

 (See ECF No. 74, PageID.1181 (beginning a factual allegation with, “It can be

 assumed that.”).)

       Federal Rule of Civil Procedure 8 requires a complaint to contain a “short

 and plain statement of the claim showing that the pleader is entitled to relief,” and

 requires that each allegation be “simple, concise, and direct.” Rule 8(a)(2), (d)(1).

 The proposed pleading’s allegations are anything but “simple, concise, and direct.”

 The Court and Defendants “should not have to ‘fish a gold coin from a bucket of

 mud’ to identify the allegations really at issue.” Kensu v. Corizon, Inc., 5 F.4th

 646, 651 (6th Cir. 2021) (quoting United States ex rel. Garst v. Lockheed-Martin

 Corp., 328 F.3d 374, 378 (7th Cir. 2003)). The question is whether “the complaint

 is so ‘verbose, confused and redundant that its true substance, if any, is well

 disguised.’” Id. (quoting Gillibeau v. City of Richmond, 417 F.2d 426, 431 (9th

 Cir. 1969)). Here, the substance is hidden in a maze of conclusory legal jargon.

 The Court is not required to engage in a scavenger hunt to find it.

       While I recognize the Plaintiffs’ pro se status, “liberal treatment of pro se

 pleadings does not require lenient treatment of substantive law.” Durante v.


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 Fairlane Town Ctr., 201 F. App'x 338, 344 (6th Cir. 2006). Like the current

 operative pleading, the proposed pleading could not withstand a motion to dismiss,

 and thus the motion for leave to amend is DENIED as futile. See Holland v.

 Madison Heights Police Dep’t,, No. 21-CV-10629, 2022 WL 18599600, at *1–2

 (E.D. Mich. Nov. 15, 2022) (Stafford, M.J.), report and recommendation adopted,

 No. 21-10629, 2023 WL 1325494 (E.D. Mich. Jan. 31, 2023) (Michelson, J.)

 (proposed amendment is futile where “rambling allegations fail to assert a coherent

 cause of action” and “the proposed amendment is so disjointed and confused that it

 obscures what claims are asserted”).

       4. November 17, 2023 Motion for Summary Judgment (ECF No. 93)
       Filed by Defendants Able Towing LLC, Bruce (John Doe), Dennis (John
       Doe), Bruce Hertz, Dennis Hertz, Edward D. Hertz, Sandra A. Hertz,
       Randy (John Doe), Service Towing Inc.

       On November 17, 2023, the Towing Defendants filed a motion for summary

 judgment. As discussed on the record during the January 30, 2024 hearing,

 however, the motion seeks judgment based off the claims alleged in the June 6,

 2023 proposed second amended complaint. Because the motion for leave to file

 that complaint was never granted, and indeed now has been specifically denied,

 that pleading is not the operative pleading.7 Accordingly, the arguments raised


 7
   Plaintiffs have repeatedly caused this confusion for both the Clerk’s Office and
 their opponents by ignoring Local Rule 15.1’s requirement that the proposed
 pleading be attached to the motion, instead just filing it as a freestanding docket
 item. E.D. Mich. LR 15.1.
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 therein are not tied to the actual claims brought by Plaintiffs in their operative

 pleading (ECF No. 6) and the motion (ECF No. 93) should therefore be DENIED.

       5. January 30, 2024 Oral Motion to Dismiss (ECF No. 100) by the
       Towing Defendants

       During the January 30, 2024 hearing, defense counsel for the Towing

 Defendants moved orally to dismiss the complaint for the reasons stated in the City

 Defendants’ motion to dismiss (which may, in the Undersigned’s view, be

 alternatively construed as a motion to convert the summary judgment motion into a

 motion to dismiss)8, and Plaintiffs and the Towing Defendants were heard on the

 motion. The Towing Defendants orally articulated sundry reasons why dismissal

 is appropriate. Opting not to address the merits, Plaintiffs instead primarily

 objected to the motion as improper, stating that Defendants had already brought a

 motion for summary judgment instead of a motion to dismiss. While it is true that

 the Towing Defendants brought a summary judgment motion (on the wrong

 pleading) instead of a motion to dismiss on the operative pleading, and while it is



 8
   A court may treat a motion under Rules 12(b)(6) or 12(c) as a summary judgment
 motion so long as all parties are given “a reasonable opportunity to present all the
 material that is pertinent to the motion[,]” Fed. R. Civ. P. 12(d), namely, to contest
 the defendant’s evidence by submitting material that controverts it.” 2 Moore’s
 Federal Practice - Civil § 12.34 (emphasis added). But there is no evidence to be
 submitted when the conversion goes the other way, from summary judgment to
 dismissal on the pleadings. Thus, the Undersigned see no reason why a summary
 judgment could not be converted into a motion under Rule 12 without additional
 submission.
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 also true that the deadline for motions to dismiss have passed, I find both

 “excusable neglect” and “just cause” for Defendants actions. Fed. R. Civ. P. 6(b)

 & 16(b)(4). As discussed during the hearing, the pleadings in this case have been a

 constant moving target, demonstrated by Plaintiffs’ repetitive motions to amend

 and amplified by the understandable confusion caused to both the Clerk’s Office

 and the Defendants when proposed complaints keep getting filed directly on the

 docket, rather than attached as exhibits to the motions to amend, as required by

 E.D. Mich. LR 15.1. (See, e.g., ECF Nos. 73 & 74.) It is understandable, under

 the unique procedural posture of this case, that Defendants would get confused

 about the state of the pleadings.

       Moreover, given the constant attempts to amend the pleadings and the

 scattershot manner in which Plaintiffs make their allegations, and given further the

 running of the discovery period, it is understandable that, at some point,

 Defendants elected to file a summary judgment motion or risk being denied the

 opportunity to do so. Unfortunately, the timing of the motions and the timing of

 discovery period led to the defendants opting to attempt to demonstrate that there

 was no universe of facts on which any claim could possibly succeed in the

 pleadings. But that is hard to do when the pleadings are so difficult to pin down

 and indiscernible, even if the operative ones can be identified. The more efficient

 manner in which to proceed, however, when faced with a deficient pleading, is to


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 move to dismiss the pleading, rather than undergo an exhaustive search into the

 universe of “what ifs” to determine what evidence could possibly support a

 theoretical claim. In any event, I will allow the oral motion to dismiss.

       Furthermore, even if Defendants had not brought the motion to dismiss,

 “[s]ua sponte dismissal for failure to state a claim is proper where the plaintiff is

 given notice and an opportunity to be heard.” Gold Crest, LLC v. Project Light,

 LLC, 525 F. Supp. 3d 826, 832 (N.D. Ohio 2021) (citing Nichols v. Cnty. of

 Wayne, No. 18-cv-12026, 2018 WL 6505360, at *3 (E.D. Mich. Dec. 11, 2018)

 (Cleland, J.)). Here, Plaintiffs were provided an opportunity to respond at the

 January 30, 2024 hearing. Moreover, the Towing Defendants moved to dismiss the

 amended complaint for the same reasons already expressed by the City

 Defendants, and in addition to responding to the Towing Defendants’ motion for

 summary judgment, Plaintiffs had already been given an opportunity to respond in

 writing to the City Defendants’ dismissal motion. See Gold Crest, LLC, 525 F.

 Supp. 3d at 832 (dismissing complaint against nonmoving defendants where

 “[t]here [was] no relevant factual or legal distinction between plaintiff’s claims

 against” the nonmoving defendants and the moving defendants and the court’s

 12(b)(6) ruling applied equally to the nonmoving defendants) (citing Nichols, 2018

 WL 6505360, at *3) (sua sponte dismissing non-moving defendant for failure to

 state a claim where there was no relevant factual or legal distinction between


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 plaintiff’s claims against moving and non-moving defendants and plaintiff had the

 opportunity to respond to the moving defendant’s arguments for dismissal) and

 Aliff v. W. Virginia Reg’l Jail & Corr. Facility Auth., No. 2:15-cv-13513, 2016 WL

 5419444, at *10 (S.D.W. Va. Sept. 26, 2016) (dismissing non-moving defendants

 for failure to state a claim “‘[w]here, as here, two defendants have moved to

 dismiss the Amended Complaint in its entirety for failure to state a claim, and the

 plaintiff has responded in full, the plaintiff is on notice and the 12(b)(6) motion

 may be considered with regard to all defendants for all claims briefed[ ]’”) (further

 citations omitted)). Because Plaintiffs were allowed an opportunity to respond to

 the oral motion during the January 30, 2024 hearing, and because they have

 already responded in writing to identical arguments in the City Defendants’ briefs,

 entertaining the oral motion is not improper. 9


 9
   Indeed, the Court could potentially choose, in lieu of denying the Towing
 Defendants’ summary judgment motion and granting their oral motion to dismiss,
 to instead do the opposite: deny the oral motion to dismiss and grant the summary
 judgment motion on “grounds not raised by a party” under Fed. R. Civ. P. 56(f)(2)
 (emphasis added). While this requires “notice and a reasonable time to respond[,]”
 the adequacy of notice “will depend on the facts and circumstances of each case.”
 11 Moore’s Federal Practice - Civil § 56.71. The Sixth Circuit has stated that,
 “‘The key inquiry is whether the losing party was on notice that he had to muster
 the necessary facts to withstand summary judgment, lest he face the dismissal of
 his claims.’” Smith v. Perkins Bd. of Educ., 708 F.3d 821, 829 (6th Cir. 2013)
 (quoting Excel Energy, Inc. v. Cannelton Sales Co., 246 F. App’x 953, 959-960
 (6th Cir. 2007)). Here, Plaintiffs had all the opportunity to muster “facts” in
 response to the summary judgment motion itself, and could only point to the
 pleadings in response to a motion to dismiss, which they long knew were under
 attack by other parties on the same grounds. Furthermore, “even when the district
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       During the hearing, the Towing Defendants argued that they should be

 dismissed from the case for the same reasons raised by the City Defendants. Citing

 McPherson v. Kelsey, 125 F.3d 989, 995–96 (6th Cir. 1997), Defendants argued

 that it was well settled law that “[i]t is not sufficient for a party to mention a

 possible argument in the most skeletal way, leaving the court to . . . put flesh on its

 bones.” Id. (quoting Citizens Awareness Network, Inc. v. United States Nuclear

 Regulatory Comm’n, 59 F.3d 284, 293–94 (1st Cir.1995) (citation omitted)). Here,

 Defendants argued, Plaintiffs were asking the Court and the Defendants to put all

 the flesh on the bones of the amended complaint and decipher the claims from the

 pleadings. The Court should agree that it is improper for judicial officers to be so

 tasked.

       Even in pleadings drafted by pro se parties, “‘courts should not have to

 guess at the nature of the claim asserted.’” Frengler v. Gen. Motors, 482 F. App’x

 975, 976-77 (6th Cir. 2012) (quoting Wells v. Brown, 891 F.2d 591, 594 (6th Cir.

 1989)). As discussed above, Plaintiffs’ complaint fails to adequately meet the

 pleading requirements of the Federal Rules of Civil Procedure. While Plaintiffs

 make plenty of accusations, the allegations are not sufficiently tied to individual



 court fails to provide adequate notice to the party against whom summary
 judgment is granted, its judgment will be upheld unless the losing party can
 demonstrate prejudice.” Id. For the reasons stated above, there is no prejudice
 here.
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 defendants in a way to discern a cause of action. “Factual allegations must be

 enough to raise a right to relief above the speculative level[.]” Twombly, 550 U.S.

 at 555 (referencing 5 C. Wright & A. Miller, Federal Practice and Procedure §

 1216, pp. 235–236 (3d ed. 2004)); see also Bickerstaff v. Lucarelli, 830 F.3d 388,

 396 (6th Cir. 2016) (the Court “need not accept as true any ‘conclusory legal

 allegations that do not include specific facts necessary to establish the cause of

 action.’”) (quoting New Albany Tractor, Inc. v. Louisville Tractor, Inc., 650 F.3d

 1046, 1050 (6th Cir. 2011)).

       Plaintiffs attempt to inject into their complaint irrelevant and often confusing

 factual allegations that often have nothing to do with the claims that they do claim

 to be asserting, while failing to provide sufficient detail to demonstrate they have

 stated a claim upon which relief can be granted. The amended complaint is filled

 with assumptions and speculation in a haphazard way, while making generalized

 arguments about wrongdoing and conspiracies by some or all of the listed

 defendants. See Kerrigan v. ViSalus, Inc., 112 F. Supp. 3d 580, 601 (E.D. Mich.

 2015) (Leitman, J.) (“These ‘shotgun’ allegations of general misconduct by a

 group of thirty-one different Defendants are not sufficient to state RICO claims

 against each of them.”); Lanman v. Hinson, 529 F.3d 673, 684 (6th Cir. 2008)

 (“This Court has consistently held that damage claims against government officials

 arising from alleged violations of constitutional rights must allege, with


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 particularity, facts that demonstrate what each defendant did to violate the asserted

 constitutional right.”) (emphasis in original) (citing Terrance v. Northville Reg'l

 Psychiatric Hosp., 286 F.3d 834, 842 (6th Cir. 2002)).

       Moreover, the amended complaint, as pleaded, raises large questions about

 standing, ownership of the relevant property, whether and how state action could

 be alleged against the private defendants, whether the alleged property was

 temporarily or permanently impounded, and on and on. While Plaintiffs claimed at

 the hearing that this is a “simple case,” the amended pleading is anything but.

 “[C]ourts may not rewrite a complaint to include claims that were never presented,

 nor may courts construct the plaintiff’s legal arguments for him. Neither may the

 Court ‘conjure up unpled allegations[.]’” Rogers v. Detroit Police Dep’t, 595

 F.Supp.2d 757, 766 (E.D. Mich. 2009) (Ludington, J., adopting report and

 recommendation of Binder, M.J.) (internal citations omitted); see also Evans v.

 Mercedes Benz Fin. Servs., LLC, No. 11-11450, 2011 WL 2936198, at *2 (E.D.

 Mich. July 21, 2011) (Cohn, J.) (“Even excusing plaintiff’s failure to follow Rules

 8(a)(2) and 10(b), a pro se plaintiff must comply with basic pleading requirements,

 including Rule 12(b)(6).”).

       The Court should GRANT the Towing Defendants oral motion to dismiss.




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       D.     Conclusion

              1. Recommendation

       For the reasons discussed above, the Court should GRANT the City

 Defendants’ motion to dismiss (ECF No. 66) and GRANT the Towing

 Defendants’ oral motion to dismiss (ECF No. 100). The only remaining

 defendants in this action are unnamed John Does. Because the time to amend has

 passed and Plaintiffs have not presented a non-futile amended complaint which

 would identify the John Does, the Court should DISMISS the amended complaint

 (ECF No. 6) in its entirety for failure to state a claim on which relief can be

 granted. If these claims are dismissed, there is nothing on which the Court could

 grant judgment and, as such, the Court should DENY AS MOOT the City

 Defendants’ motion for summary judgment. (ECF No. 79.) Additionally, because

 the Towing Defendants based their motion for summary judgment on a proposed

 pleading, rather than on the operative pleading (ECF No. 6), and because

 Defendants’ oral motion to dismiss should be granted, the Court should DENY

 their motion for summary judgment (ECF No. 93).

              2. Order

       Because Plaintiffs’ proposed second amended complaint (ECF No. 74)

 would be futile, their motion to amend (ECF No. 73) is DENIED.




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        III. PROCEDURE ON OBJECTIONS

    A. Report and Recommendation

       The parties to this action may object to and seek review of this Report and

 Recommendation, but are required to file any objections within 14 days of service,

 as provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule

 72.1(d). Failure to file specific objections constitutes a waiver of any further right

 of appeal. Thomas v. Arn, 474 U.S. 140, 144 (1985); Howard v. Sec’y of Health &

 Human Servs., 932 F.2d 505, 508 (6th Cir. 1991). Filing objections that raise some

 issues but fail to raise others with specificity will not preserve all the objections a

 party might have to this Report and Recommendation. Willis v. Sec’y of Health &

 Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

 Teachers, Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to Local Rule

 72.1(d)(2), any objections must be served on this Magistrate Judge.

       Any objections must be labeled as “Objection No. 1,” and “Objection No.

 2,” etc. Any objection must recite precisely the provision of this Report and

 Recommendation to which it pertains. Not later than 14 days after service of an

 objection, the opposing party may file a concise response proportionate to the

 objections in length and complexity. Fed. R. Civ. P. 72(b)(2); E.D. Mich. LR


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 72.1(d). The response must specifically address each issue raised in the objections,

 in the same order, and labeled as “Response to Objection No. 1,” “Response to

 Objection No. 2,” etc. If the Court determines that any objections are without

 merit, it may rule without awaiting the response.

       B.     Order on Motion for Leave to Amend

       The attention of the parties is drawn to Fed. R. Civ. P. 72(a), which provides

 a period of fourteen (14) days after being served with a copy of this order within

 which to file objections for consideration by the district judge under 28 U.S.C. §

 636(b)(1).


       IT IS SO ORDERED.


 Dated: February 5, 2024                ___________________
                                        Anthony P. Patti
                                        UNITED STATES MAGISTRATE JUDGE




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